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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK




UNITED STATES OF AMERICA,


                                                             DECISION AND ORDER
              v.                                                 04-CR-189A

AMEER McKNIGHT,

                                    Defendant.




                                     INTRODUCTION

              On January 20, 2005, a federal grand jury returned a Superseding

Indictment charging the defendant, Ameer McKnight, and others with various

drug trafficking crimes. Specifically, defendant McKnight was charged with one

count of conspiracy to possess with intent to distribute cocaine, in violation of 21

U.S.C. §§ 841(a)(1) and 846.1

              At defendant’s initial appearance, United States Magistrate Judge

Leslie G. Foschio ordered that defendant be detained pending a hearing.

Following the detention hearing, Magistrate Judge Foschio ordered that the

defendant be detained pending trial.




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              Since the time of the Superseding Indictment, the grand jury has returned a
Second Superseding Indictment. However, the charges pending against defendant McKnight
remain the same.
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             Currently before the Court is defendant’s motion, pursuant to 18

U.S.C. § 3145(b), for revocation of Magistrate Judge Foschio’s detention order.

A hearing on defendant’s motion was held on June 14, 2005.

             After reviewing Magistrate Judge Foschio’s detention order and the

transcripts of the proceedings before him, and after considering the evidence

adduced at the hearing before this Court and the submissions of the parties, and

after hearing argument from counsel, the Court denies defendant’s motion to

revoke the detention order. The following constitutes the Court’s findings of fact

and statement of reasons for detention in accordance with 18 U.S.C. § 3142(I).




                                   DISCUSSION

             Under 18 U.S.C. § 3142(f)(1)(C), the government may move for

pretrial detention of a defendant where the case involves “an offense for which a

maximum term of imprisonment of ten years or more is prescribed in the

Controlled Substances Act (21 U.S.C. 801 et seq.)[.]” In this case, the

government moved for detention of the defendant pending trial, pursuant to §

3142(f)(1)(C), and Magistrate Judge Foschio granted that motion.

             If a defendant is ordered detained by a magistrate judge, he may,

under 18 U.S.C. § 3145(b), move for revocation of the detention order before the

district court. Upon such motion, the district court must perform a de novo

review of the magistrate judge’s detention order. United States v. Leon, 766

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F.2d 77, 80 (2d Cir. 1985) (finding that a district court should “not simply defer to

the judgment of the magistrate, but reach its own independent conclusion”); see

also United States v. Colombo, 777 F.2d 96, 100 (2d Cir. 1985). When making

its de novo review, the district court may rely on the record of the proceedings

before the magistrate judge and may also accept additional evidence. Colombo,

777 F.2d at 98 n.1; Leon, 766 F.2d at 80; United States v. Delker, 757 F.2d

1390, 1395-96 (3d Cir. 1985).

             W here an indictment charges a defendant with a narcotics offense

for which the potential term of imprisonment is ten or more years, there is a

rebuttable presumption that no condition or combination of conditions will

reasonably assure the defendant’s appearance as required and the safety of the

community. 18 U.S.C. § 3142(e); United States v. Rodriguez, 950 F.2d 85, 87

(2d Cir. 1991). Thus, in cases such as this, there is a rebuttable presumption

that the defendant is a flight risk and will pose a danger to community if

released. Id.

             Although the government retains the burden of persuasion on these

issues–i.e., risk of flight and danger to the community–“a defendant must

introduce some evidence contrary to the presumed fact in order to rebut the

presumption.” Id. at 88 (citing United States v. Martir, 782 F.2d 1141, 1144 (2d

Cir. 1986)). “Once a defendant introduces rebuttal evidence, the presumption,



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rather than disappearing altogether, continues to be weighed along with other

factors to be considered when deciding whether to release a defendant.” Id.

             "Congress framed the flight presumption in light of its general

finding, based on extensive testimony, that flight to avoid prosecution is

‘particularly high among those charged with major drug offenses.’" Martir, 782

F.2d at 1144 (quoting S. Rep. No. 225, 98 th Cong., 1 st Sess. 20, reprinted at

1984 U.S.C.C.A.N. 3203). Accordingly, the Second Circuit has stated that “it

does not follow that the effect of the presumption disappears as soon as the

defendant produces some contrary evidence.” Id.

             W here the issue involves a defendant’s risk of flight, the Second

Circuit has observed:

      The [Bail Reform Act of 1984] provides that a court should order a
      defendant detained pending trial if "no conditions or combination of
      conditions will reasonably assure the appearance of the person as
      required." 18 U.S.C. § 3142(e). We have interpreted § 3142(e) to
      require a district court to engage in a two step inquiry before
      ordering a defendant released or detained pending trial.

      First, the court must make a finding as to whether the defendant
      presents a risk of flight if not detained. Second, if the court finds
      that a defendant is likely to flee, then the court must proceed to the
      second step of the inquiry, namely, whether there are conditions or
      a combination of conditions which reasonably will assure the
      presence of the defendant at trial if he is released. The burden of
      proof is on the government to prove the absence of such conditions
      by a preponderance of the evidence.

United States v. Shakur, 817 F.2d 189, 194-95 (2d Cir.) (citations omitted), cert.

denied, 484 U.S. 840 (1987).

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             Facts supporting a finding of dangerousness to the community must

“be supported by clear and convincing evidence.” 18 U.S.C. § 3142(f);

Rodriguez, 950 F.2d at 88. The government maintains the burden of proving

dangerousness by clear and convincing evidence even when the statutory

presumption has been invoked. Rodriguez, 950 F.2d at 88.

             In determining whether there are conditions of release that will

reasonably assure the appearance of the defendant as required and the safety

of the community, the Court must consider the factors provided in 18 U.S.C.

§3142(g):

      (1)    The nature and circumstances of the offense charged,
             including whether the offense . . . involves a narcotic drug;

      (2)    the weight of the evidence against the person;

      (3)    the history and characteristics of the person, including--

             (A) the person's character, physical and mental
             condition, family ties, employment, financial resources,
             length of residence in the community, community ties,
             past conduct, history relating to drug or alcohol abuse,
             criminal history, and record concerning appearance at
             court proceedings[.]

      (4)    the nature and seriousness of the danger to any person or the
             community that would be posed by the person’s release.

             The Second Circuit has warned that, in applying these factors to any

particular case, “the court should bear in mind that it is only a ‘limited group of

offenders’ who should be denied bail pending trial.” Shakur, 817 F.2d at 195



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(quoting S. Rep. No. 225, 98 th Cong., 2nd Sess. 7, reprinted at 1984

U.S.C.C.A.N. 3182, 3189).

             Applying the above principles in the instant case, the Court finds

that the defendant should be detained. First, the presumption of 18 U.S.C. §

3142(e) is in effect in this case. Thus, it is presumed that no condition or

combination of conditions will assure the appearance of the defendant as

required and the safety of the community if he is released. Defendant has failed

to come forward with any evidence to rebut this presumption.

             Second, applying the factors in 18 U.S.C. § 3142(g), the Court finds:

(1) by a preponderance of the evidence that defendant presents a risk of flight

and that no condition or combination of conditions will reasonably assure that he

will appear as required if released; and (2) by clear and convincing evidence that

no condition of combination of conditions will reasonably assure the safety of the

community if he is released.

             The first factor of § 3142(g)–“[t]he nature and circumstances of the

offense charged, including whether the offense . . . involves a narcotic

drug”–weighs in favor of detention. Defendant is charged with participating in a

conspiracy to distribute substantial amounts of cocaine, a narcotic drug, over

approximately a three-year period. Because of the nature of the charges and

defendant’s criminal history, he faces a mandatory minimum sentence of 20

years and a maximum sentence of life imprisonment. See 18 U.S.C. §

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841(b)(1)(A). Such a potentially lengthy term of imprisonment presents ample

incentive for defendant to flee prior to trial. See Martir, 782 F.2d at 1145.

             The second factor of § 3142(g)–“the weight of the evidence against

the person”–also weighs in favor of detention. The government’s proffer and the

evidence adduced at the hearing show that the government has a strong case

against the defendant. The government alleges that the defendant was part of a

large cocaine distribution organization in Buffalo. The government proffered that

it has several tape recorded conversations involving the defendant and others

during which coded language was used to discuss drug transactions. When a

search warrant was executed at defendant’s home, agents seized a Davis semi-

automatic .380 pistol and several safes.

             The third factor of § 3142(g)–“the history and characteristics of the

person”–likewise weighs in favor of detention. Defendant has a substantial

criminal history, including a conviction for Reckless Endangerment in the 1st

Degree, a felony drug conviction and a weapons conviction. He also has

numerous other arrests for crimes involving elements of violence and assault. In

addition, defendant has: (1) a number of arrests and convictions for crimes

committed while he was on parole supervision; (2) multiple parole revocations;

(3) multiple arrests while on pretrial release in other criminal cases; and (4) an

arrest and conviction for a crime committed while he was awaiting prison

designation. Moreover, while on parole supervision, defendant was arrested

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and charged with false personation in an attempt to avoid detection. Finally, the

instant offense was allegedly committed while defendant was on parole

supervision.

               Defendant’s girlfriend has an active protective order against him.

Further, defendant does not maintain a stable residence, has a tenuous

employment history and has not been employed since 2001.

               The fourth factor of § 3142(g)–“the nature and seriousness of the

danger to any person or the community”–further weighs in favor of detention. As

stated, the defendant has a conviction for Reckless Endangerment in the 1st

Degree, a felony drug conviction and a weapons conviction. In addition, as

detailed above, the defendant has a substantial history of committing crimes

while on court supervision. Moreover, as stated above, when agents executed a

search warrant at defendant’s home, they seized a Davis semi-automatic .380

pistol. Thus, defendant’s record demonstrates that he is not amenable to court

supervision and would pose a serious risk to the community if released.




                                    CONCLUSION

               For the reasons stated, the Court hereby denies defendant’s motion

to revoke Magistrate Judge Foschio’s detention order and orders that defendant

be detained pending trial. Defendant shall be committed to the custody of the

Attorney General for confinement in a corrections facility separate, to the extent

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practicable, from persons awaiting or serving sentences or being held in custody

pending appeal. Defendant shall be afforded reasonable opportunity for private

consultation with counsel. On order of the Court or on request of an attorney for

the government, the person in charge of the corrections facility in which

defendant is confined shall deliver defendant to a United States Marshal for the

purpose of an appearance in connection with any court proceeding.

             IT IS SO ORDERED.

                                       /s/ Richard J. Arcara

                                       _______________________________
                                       HONORABLE RICHARD J. ARCARA
                                       CHIEF JUDGE
                                       UNITED STATES DISTRICT COURT

Dated: July 22    , 2005




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